          Case: 1:19-cv-02595 Document #: 1 Filed: 04/16/19 Page 1 of 14 PageID #:1                                                            Pr
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                                                                                                                   RECEIVED
                                  UNITED STATES DISTRICT COI]RT
                              FOR TIIE NORTIMRN DISTRICT OF ILLINOIS                                                     APR 1 6     zll$\J,
                                                                                                                   THOMASG BRUTON
                                                                                                                CLERK, U.S. DISTRICT COURT
       Roland     Pizarro                                     )
                                                              )
                                                              )

Plaintiff(s),
                                                              )      1:19-cv-02595
                                                              |      .luOge John J. Tharp, Jr.
v.                                                            i      Magiskate Judge Young B. Kim
                                                              )
                                                              )
      Bancare,Inc.                                            )
                                                              )
Defendan(s).                                                  )


                           COMPI AINT OT T'MPI.OYMF'T{T NISCRIMTN ^ TION

 l.   This is an action for employmentdiscrimination.

 2.   The   plaintitris__&lasd Pizarrg                                                                                      of the

 county   of Cook                                                    in the state of Illinois

 3.   The defendant        is Bancare.Inc.                                                                               . whose

 sfreet address      is   6. East Collese Drive

 (city)$lington Heigbts                                             (county)   Cook_(state)lL._                          QDY0OM_
 (Defendant's telephone           number)           (.847_)   -    394-1122

 4.   The plaintiffsought employment or was employed by the defendant at (streetaddress)
                                                                                                                             ca
                                                                                                                             art
                                                                                    (ciU)                                    tlr'
                                                                                                                             D
                                                                                                                             .o
      @ounty)                        (.ror.\                      QIP code)                                                  f,
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 5.      The plaintifflcheck one bod

         (a) tr            was denied employment by the defendant.

         (b) tr            was hired and is still employed by the defendant.

         (c) EI            was employed but is no longer employed by thedefendant.

         The defendant discriminated against the plaintiffon or about, or beginning on or about,
         (month)        3ggst_,@ay)_!7           , (year) 2018_.

7.1      (Choose paragraph 7.1             or 7.2, do not complae both.)

         (a)       The defendant is not a federal governmental agency, and theplaintiff
                   lcheck one box)BhasEhas not fied a charge or charges against the defendant

                   asserting the acts of discrimination indicated in this complaint with any                         ofthe

                   following govemment agencies                :



                   ()      EI the United States Equal Employment Opportunity Commission, on or

                           about (month)March_(day) 22                   _(yeai           _n   I   9_.
                   (iD tr the Illinois Departrrnent of Human Rights, on or about
                          (month)-(dav)-0ear)-.
         (b)      If   charges were filed, with an agency indicated above, a copy of the charge is

                  attached.    EI   Yes,   [J   No, but plaintifrwill Iile a copy of the charge within 14 days.


         It is the policy of both the Equal Employment Opportunity Commission and the Illinois

        Deparbnent of Human Rights to cross-file with the other agency all charges received. The

        plaintiffhas no retlson to believe that this policy was not followed in this case.



7.2      The defendant is a federal governmental agency, and

        (a)            the plaintiffpreviously filed a Complaint of Employment Discrimination withthe

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          defendant asserting the acts of discrimination indicated in this court complaint.

                           E     Yes    (.month)                            (day)_0ear) _
                           ffiNo, did not file Complaint of EmploymentDiscrimination

          o)               The plaintiffreceived a Final Agency Decision on(month) March                           _
                           (day) 26

          (c)                            --(year)-2019-.
                           Aftached is a copy ofthe

                           (i)   Complaint of Employnent Discrimination,

                                 [lV.r        Et No, but a copy will         be filed   within 14 days.

                           Gi) finat Agency Decision

                                       ffi Ves Et N0, but a copy will be filed within 14 days.


          (Complete paragraph                 I   only if defendont is not afederal governmental ogency.)

          (a)         tr         the United States Equal Employment Opportunity Commissionhas not

                                 issued aNotice of Right to Sue.

          (b)     E        the United States Equal Employment Opportunity Commission has issued

                                 a   Notice of Right to Sue, which was received by the plaintiffon

                                 (month)   March_(day) 28                        _(year)2019_3copy                   of which

                                 Notice is attached to this complaint.


          The defendant discriminated against the plaintiffbecause ofthe plaintiffs lchech only

         those that applyl:

          (a) tr           Age (Age Discrimination Employment Act).

          (b) E            Color (Title VII of the Civil Riehts Act of 1964 and42 U.S.C. 91981).


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          (c) tr       Disability (Americans with Disabilities Act or Rehabilitation Act)

          (.d) EI National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).

          (e) tr       Race (Title     VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).

          (0 tr Religion (Title VII of the Civil Rights Act of 1964)
          (g) E        Sex (Title     vII   of the Civil Rights Act of 1964\


10.       If the defendant is a state, @un$, mwricipal (crty, town or village) or other local

          governmental agency, plaintifffurther alleges discrimination on the basis of race, color, or

          national origin (42 U.S.C. $ 1983).


11.       Jurisdiction over the statutory violation alleged is conferred as follows: for Title Vllclaims

          by 28 U.S.C.$1331, 28 U.S.C.$13a3(a)(3), and 42 U.S.C.g2000e-5(f)(3);for 42

          U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the ADA by 42 U.S.C.$12117; for the

          Rehabilitation Act,29 U.S.C. $ 791; and for the ADEA, 29 U.S.C. g 626(c).


12.       The defendant [chech only those that applyl
          (a)    tr
                failed to hire the plaintiff.

          (b)    tr   terminated the plaintiffs employment.

         (.c)    tr failed to promote the plaintiff.
         (d) tr failed to reasonably accommodate the plaintiffs religion.

         (e)     tr failed to reasonably accommodate the plaintifPs disabilities.
         (0 tr        failed to stop harassment;

         (g)     tr   retaliated against the plaintiffbecause the plaintiffdid something to assert rights
                      protected by the laws identified in paragaphs 9 and 10 above;

         (h)     E    other (specifr): Retaliated against after I complained about harassment by a co-
                      workcr
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13.      The facts supporting the plaintiff s claim of discrimination are as follows:

        I was the service manager for Bancare for 22 years. They hired a new salesman about 2 years
         ugo *hith frorn thr t
         heard by the whole office including my boss, James Cozzi as he was there. As the head of the    "
         service department, salesman should communicate with me if they need something done for
        their clients but he never did. He will always talk to one of the ladies in the offrce if he needs
        something and they will relay the message to me. James Cozzi is aware of this and everytime I
        point that to him, tre will always say that he witt tatk to the $lesrnan. I don't ksrow if he ever
         did because the salesman continued doing the same thing. I mentioned to James Cozzithatl
        was thinking of filing an emotional distress lawsuit and he said to go ahead. But I did not
        because I frgured it will get better which I totally regretted now. I was wrong because he took
        the salesman's side who's been with us for only 2 years versusr a dedicated employee who's
        been with the company for 22 years. This salesman, Tom Henninger repeatedly called my
        tectmicians stupld and incapable of doing thvn joba. O,nc timr he called orrc of my techmician
         stupid while performing a service call at one of our customer's site and technician quit the same
        day. Again, James Cozzi was aware ofthis. As a service manager, I tried to protect my
        technicians so I emailed James Cozzi (copy of email attached) asking to get rid of the salesman
        since he couldn't get along with anybody. He replied saying we should talk about this face to
        face instead of emails. One week later, we had a meeting but we didn't talk about the salesman.
        Instead, he did my review and after 22 years, gave me my first bad review. I have always
        received a good review and pay increase every year. Because of this bad review, he told me that
        he was replacing me and giving me a new position he created as an equipment manager
        (attached is email he sent regarding my new position). He said that it's not a demotion but
        moving sideways to a new position and if I don't accept this new position, he will have to fire
        me. I accepted the new position but as an equipment manager, I was doing the job of a service
        technician. I went out everyday to do service calls and added me to the weekly on-call list. The
        person who replaced me as the service manager was a technician who's been with the company
        about 5 years and he told me that the only reason he got myjob was because I couldn't get
        along with the salesman. I feel that this was some type of retaliation because I complained about
        the salesman. There are other employees who are aware of this Sudge the salesman had on me
        and will support this demotion and discrimination.




14.     VGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and wiltfutty
        discriminated against the plaintiff.

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15.      The plaintiffdemands that the case be tried by a jury.                     tr
                                                                                   Yes x No

t6.      THEREFORE, the plaintiffasks that the cotut grant the following relief to the plaintiff
         fchech only those that apply]

         (a) tr Direct the defendant to hire the plaintiff.
         O) tr Direct the defendant to re-employ the plaintiff.
         (c) tr Direct the defendant to promote the plaintiff.
         (d) tr Dfuect the defendant to reasonably accornmodate                              the   plaintiffs religion.

         (e) tr Direct the defendant to reasonably accommodate the plaintiffs disabilities.
         (0 tr Direct the defendant to (specifr):




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         (e)              If availablggrant theplaintiffapprcpriate ir{unctive relief, lost wages,
                         liquidated/double darnages, front pay, compensatory damages, punitive
                         damages, prejudgment interest, post-judgnent interest and costs, including
                         rmsonable atforney fees and expert witnessfees.

         (h)              Grant such other relief as the Court may find appropriate.




         (City)                                   (statil-L/- <2ry-e oll-b
                                                                 '?o1 -    9s'a z-
         (Plaintiff s telephone number) ( L+1_)              -
                                                                                Dare:      3l>q lzutq




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A#inst [re or Others. (llinore than nvo. Iist under PARTII'LILARS below.)
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BANCARE INC                                                                                                                                               15 - 100                              (uzltg*trzz
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6 E. College                     Drive, ARIINGTON HEIGHTS, IL 60004

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Tilf     PARTICUIAR5 ARE (lfadd.irlou! papcris ac*iltd, atbch                 ettra ilc*t(s)).
  I beganmy euaployncnt with Rapondent in s about 1996. My rIost r"c€nt posttion was Equipmant Manager. Iluing my
  employmeng I was harassed by a co-worker. I complaind about the harassncnt to Respondent, and suf,sequently, I was
  demoted" orr or about Sep&n&a 11, 201t, I lutgned my posidorr

  I   believe I have been retaliated against, in violaHsn of Title YIl of                                          tte Civil niihB .lct of lg0+,              as ameaded"




I wart this charge filed wi& both the IEOC and thc Strtc or Imel Agetrcy, if eny. f will                                IIOTIRY   - ,r'h.d ,rtrclsry   fdr Slrte   n*l txti       AgawJl Requircnrtn
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I declarr under penalty                   ofperjury rhat the     above is tnre and correci.                            best of nry knowledge,      infonnation and beiief.
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 ErOC Form 161 (r   1116)                   U.S. Eoual Euploymerur OppoRrurny Commsstoit

                                                    DrcmrssaL AND            Norce oF RTGHTS
To:     Roland Pizarro                                                               From: Chlcago Dlstrict OfftCe
       3804 Emerson Drive                                                                  500 West Madison St
       Schitler Park, lL 60176                                                             $ulte 2000
                                                                                           Chicago, lL 60661


                               On befialf of person{s) aggrbved whose i,enery is
                               coNFtPENrtAt (29 cFR SrPr.7(a))
 EEOC Charge No.                                  EeOC kegresentative                                                  Tetephone No.

                                                  Sarronda Harrie,
 440-2019.02038                                   lnvectigator                                                         (312) 869{025
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
     tl             The facls alleged in the charge fail to stale a claim under any of the statutes enforced by the EEOC.


     tf             Your allegations did not involve a disability as delined by the Amerkans With Disab'ilities Act.


     tf             The Respondent employs less than the required number of employees or is not otherwise covered by the statutes,

     E              Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of lhe alleged
                    discrimination to file your charge

     E              The EEOC issues the folkning determination: Based upon its investigation, the EEOC is unable to conclude that the
                    in{ormation obtained estebtist€s viotations gf the statutes. This does not certifi/ that the respondent ls in comptiance with


     rl
                    the statutes. No finding is made as to any oiher issues that might be construed as having been raised by this charge

                    The EEOC has adopted he findin5 of the state or hcal ftair employment practccs agency that irnestfgated this charge.


     t_l            Olher lbriefly stale)




                                                     ,*.;"Y"1.I?5,,3L?,H,1],,$,,S,Ii^,".*,
Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act This urill be the only notice of dismissal and of your rQht to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed IUEE!I-9Q_D{YE ol your recelpt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or stiate court within 2 years (3 years for willful violations) of the
atiegedEPAunderpayment,Thigmeansthatbackpayduoforanyviolationrthatoccurred@
before you file cuit may not be collectible.

                                                                      0n behalf of the Commission


Enclosures(s)
                                                                                                                       3/a .@ate Maildt


           BANCARE,INC.
           c/o J. James Cozzi
           President
           6 E. College Drive
           Arlington Heights, lL 80004
                Case: 1:19-cv-02595 Document #: 1 Filed: 04/16/19 Page 10 of 14 PageID #:10


ROLAND PIZARRO

hnu                                     /AMESCOZZT
Scnt                                    Tuesday, luly 31,20188:58 PM
To:                                     ROLAND PIZARRO
Subject:                                Re: Tom




We will talk about this face to face. Not through email.

On Jul     3!,7018, at 8:39 PM, ROLAND             PIZARRO <rolandpizarro@bancare.net>         wrote:

            Yes, face to face rvould be good but it's not really a concern. It's an issue I brought up several tinres and
            is now out of proporlion. lt's not just nre, all the techs arc complaining about him and threatening to quit.
            Look what happened to Chris, Totn keeps on yelling at hinr and calling him incornpetent until he couldn'l
            stand it anyrnorc so he quit, he was a good technician. l-low many technicians do rve need to lose before
            you acknowledge that he's the source of the problern? John and Salvador might have self-control but not
            sure about Walter or Steve if that happens to them. Do rve want to see that happen?

            Thanks



            ehd?. frr"M
            S€rvbe Manager

            ?. - - -               n-      _


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            (84?) 394-1 122 = olfrce
            (847) 3944268 = fax
            (847) 502-8570 = mohile
            rts rr'.hancare.rrel


           From: JAMES COZZI
           Sent: Tuesday, July 31, 2018 7:16 PM
           To : R OLAND PfZARRO < rola nd pizi rro @ba nca re. net>
           Subfect RE: Tom

           Roland, I appreciate your concern I would like to continue this conversation face to face. I am out most
           of tomorrow and Thursday and then off on Friday. lf you are around Thursday and I can be here
           between meetings we willget toSether. Otherwise we willtalk at your review next week.

            Thank you

                                                                       l. James Cozzi

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                                                                       6 E. College Drive
                                                                Arlngttn tletgtftt, lL G0004
                                                                   M7-394-1122 olhep
                                                                       847-3944288fat




           From: ROLAND PIZARRO
           Sent Tuesday, july 31, 2018 5:37 AM
  Case: 1:19-cv-02595 Document #: 1 Filed: 04/16/19 Page 11 of 14 PageID #:11


To: JAMES COZI     <iamescozei@banca    >
Subject: Tom

l'm emailing you because I'm so stressed at work and haven't been sleeping a lot lately. lthink
it's time to let Tom go. Sure he makes mofley lor the company but hour can you have someone
work for Bancare and say bad things about the ernployee, people he's supposed to be,rtorking
with. l'm glad you heard him callbancare technicians stupid and idiots (not his exact words),
these are the technicians that you hired. Maybe, you should dose the service dept and hae
him get his own peode. I cannot be in the same room with him so lwill not be attending weekly
meetings anymore.



Roland   Pizarro
         F
Service Manager

bancare, lnc
5 East College Drive
Arllngton Heights, lt 60004
(847) 394 - ttlz = office
(8471394-0258=fax
l8/.Tl5O2-8570= mobile
www.bancare.net
          Case: 1:19-cv-02595 Document #: 1 Filed: 04/16/19 Page 12 of 14 PageID #:12



ROLAND PIZARRO

From:                       JAMES COZZI
Sent:                       Friday. August L7,20L872:23 PM
To:                         Andrav Dimbergc4 Anthony Saca ERt      CE HOYER'CHRIS THOMPSON; Dave Pcterson; David Bc*man; David
                            Feldterl' trit Malmberg; GINA MII-IINGTON; JANET KlrAlq reff Greenfield;.lennilbr Petersen; rOHN BARNETI; ,OSEPH
                            F.COZZI; Kristen Castro; PATRICI( RYAN; PAUI PEARRO; Ray Swoik; RENATO (Unq ROIAND PEARRO; SALVADOR
                            BAtmSfA Scoil fynastoru Shawn Cardelll; SfEPHANIE EDWARDS STEVE COI-UNS; STUART ROAT; TODD STEFANIAK
                            TOril HENNING€FI Traci Sdrleich; Waldemar Hapon
SuSectr                     Roland and John



With the increase in equipment jobs and service calls we have decided to break up some of the responsibilities
prevlously under the service manager's purvlew to better address the work flow and lncrease our response to the
customer.

Roland has accepted the new position of Equipment Manager which will be responsible for setting up jobs prior to
commencement as well as finalizing paperwork. Roland will also continue with timeclock repair and vehicle
management. Roland willalso be freed up to spend more time assisting and training the techs in the field.

John has agreed to step in to the Service Manager position. John's 2O years' experience in the security industry -
lncludlng six years at Bancare - and his deep knowledge of our products wlll serve hlm well in hls new position.

Thank you and congratulations to Roland and Johnl




                                                           J, James Cozzi

                                                       lroncole. lne.
                                                          6 E. College Drive
                                                      Arlington Heights,   lt   6{D04
                                                         il7-39*11?2olfw
                                                           847-394-0268 tax
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ROLAND PIZARRO <rolan dpizarro@bancare.n6t)                               Tue, Sep 1 1,
                                                                              5:18 PM
to JAMES

l've been doing service calls every day ufricfi is not in my job desoiption as an
equipment manager. I can do it once in a while but not every day. For this reason that
l'm tuming in my resignation efrective today. lfs been a wonderful22 years with
Bancare.

Thank you



Roland F Pizarro

bancare, lnc
6 East College Drive
Arlingrton Heights, lL 60004
(&47) 394 - 1122 = offlce
(U7) 394 - 4268 = fax
(U7) 5AZ - 8570 = mobile
www.bancare.net
 Case: 1:19-cv-02595 Document #: 1 Filed: 04/16/19 Page 14 of 14 PageID #:14




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